Case 24¢4-mj-07000-DUTY Document 12 Filed 11/26/24 Page1of4 Page ID #:38

0 OY DH NW F&F WwW HY &

mee et
No S&S ©

oOo NY NY NH NY NH NH NO | Fe KF EF Fe ee
2 Yak kB BSB ® FSF FSeriaas Bs

FILED
CLERK, U.S. DISTRICT COURT

NOV 2.6 2024

CALIFORNIA
corre DISTRIPY OF Oe EPUTY.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,

Plaintiff, CASE NO. MJ-24-07000
V.

CRISTIAN FERNANDO
GUTIERREZ-OCHOA, ORDER OF DETENTION

Defendant.

I.
A. OK On motion of the Government in a case allegedly involving:

1.()  acrime of violence.

2. () anoffense with maximum sentence of life imprisonment or death.

3. ( a narcotics or controlled substance offense with maximum sentence
of ten or more years .

4.(.) any felony - where the defendant has been convicted of two or more
prior offenses described above.

5. (.) any felony that is not otherwise a crime of violence that involves a
minor victim, or possession or use of a firearm or destructive device
or any other dangerous weapon, or a failure to register under 18

U.S.C § 2250.

B. ( WV On motion by the Government /( ) on Court’s own motion, in a case

Case 2;

24-mj-07000-DUTY Document12_ Filed 11/26/24 Page2of4 Page ID #:39

allegedly involving:
( yy On the further allegation by the Government of:
1. ( a serious risk that the defendant will flee.
2. () aserious risk that the defendant will:
a.( ) obstruct or attempt to obstruct justice.
b.(_) threaten, injure, or intimidate a prospective witness or juror or
attempt to do so.
C. The Government () is/(_) is not entitled to a rebuttable presumption that no
condition or combination of conditions will reasonably assure the defendant’s

appearance as required and the safety of any person or the community.

Il.
A. Of The Court finds that no condition or combination of conditions will
reasonably assure:
1. ( wy the appearance of the defendant as required.
( y and/or
2. (the safety of any person or the community.
B. (y~ The Court finds that the defendant has not rebutted by sufficient

evidence to the contrary the presumption provided by statute.

Il.

The Court has considered:

A. the nature and circumstances of the offense(s) charged, including whether the
offense is a crime of violence, a Federal crime of terrorism, or involves a minor
victim or a controlled substance, firearm, explosive, or destructive device;

B. the weight of evidence against the defendant;

C. the history and characteristics of the defendant; and

D. the nature and seriousness of the danger to any person or to the community.

Case 2:2}4-mj-O7000-DUTY Document12 Filed 11/26/24 Page3of4 Page ID #:40

=

Oo Oo N HD AW FSF WD NY

DRO RQ a SE

IV.
The Court also has considered all the evidence adduced at the hearing and the
arguments and/or statements of counsel, and the Pretrial Services

Report/recommendation.

V.

The Court bases the foregoing finding(s) on the following:
A. ( As to flight risk: ettstanding, Inter pol War Ont

FO Mexico for kidnapping, ; uo (ghost) qucna)

and large anounts cack \ound jt, bp,

during, ONO 3 No “ego- Vstatus in_ USA ;

strong | fomnicley hes abroad ; 5 mur ple

ident. LS

B.(y Astodanger:_ Outstancing Incterpol DOOITaMt

From. Mexico toy Lidnap@ing s Natuye of
the offenses U

VI.
A.(.) | The Court finds that a serious risk exists that the defendant will:

1.( ) obstruct or attempt to obstruct justice.

2.( ) attempt to/(_ ) threaten, injure or intimidate a witness or juror.

°

Case 2

B.

724-mj-O7000-DUTY Document12_ Filed 11/26/24 Page4of4 Page ID#:41

The Court bases the foregoing finding(s) on the following:

w

2b,
DATED: November 26, 2024

VIL.

. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
. ITIS FURTHER ORDERED that the defendant be committed to the custody

of the Attorney General for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or being

held in custody pending appeal.

. ITIS FURTHER ORDERED that the defendant be afforded reasonable

opportunity for private consultation with counsel.

. IT IS FURTHER ORDERED that, on order of a Court of the United States

or on request of any attorney for the Government, the person in charge of the
corrections facility in which the defendant is confined deliver the defendant
to a United States marshal for the purpose of an appearance in connection

with a court proceeding.

Wei H.

